Case 9:23-cv-00061-DWM Document 74 Filed 09/20/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
SAMANTHA ALARIO, et al., Lead Case No.
CV 23-56-M—D WM
Plaintiffs,
and Member Case No.
CV 23-61-M—-DWM
TIKTOK INC.,
Consolidated Plaintiff, ORDER

VS.

AUSTIN KNUDSEN, in his official

capacity as Attorney General of the
State of Montana,

Defendant.

The parties in this case have filed a motion requesting “the Court’s guidance
on whether the Court wishes to hear witness testimony at the hearing on October
12, 2023.” (Doc. 71.) The motion further indicates that “[a]bsent direction from
the Court that witness testimony would assist the Court, the parties have stipulated
that only argument from counsel will be presented.” (Doc.71).

Federal Rule of Civil Procedure 65(a)(2) provides a clue that is responsive to
the joint motion, but which returns the answer to the question to counsel
representing the parties in the proceeding. If the parties call witnesses, or if they

rely solely on submitted affidavits, “the court may advance the trial on the merits

1
Case 9:23-cv-00061-DWM Document 74 Filed 09/20/23 Page 2 of 2

and consolidate it with the hearing. Even when consolidation is not ordered,
evidence that is received on the motion and that would be admissible at trial
becomes part of the trial record and need not be repeated at trial.” /d. Beyond
some clarification of the parties’ intentions, the hearing will proceed according to
the rules. There are time constraints to be considered but absent proof beyond the
stipulation referenced, each party will be limited to no more than 30 minutes of
argument.' No Amici will be permitted to argue. Accordingly,

IT IS ORDERED that the parties’ joint motion (Doc. 71) is GRANTED IN
PART and DENIED IN PART as explained above.

ve
DATED this 40 day of September, 2023.

'Ts Article II § 7 of the Montana Constitution at issue in this case? “Freedom of
speech, expression, and press. No law shall be passed impairing the freedom of
speech or expression. Every person shall be free to speak or publish whatever he
will on any subject, being responsible for all abuse of that liberty.”

2
